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THE UNITED STATES DISTRICT COURT FOR THE
WESTERN DISTRICT OF KENTUCKY

OWENSBORO DIVISION
LWD PRP GROUP, /)
Plaintiff,
ve 5 Civil Action No, 5:12-CV-00127-
ACF INDUSTRIES LLC, et all. JEM-HBB: :
Defendants.

AFFIDAVIT IN SUPPORT OF REQUEST FOR ENTRY OF
DEFAULT AS TO DEFENDANT PEOPLES NATURAL GAS CO. LLC

STATE OF KANSAS yo
)

ss.
COUNTY OF JOHNSON _ ) -

Gary D. Justis, lead counsel for Plaintiff LWD PRP Group (“Plaintiff , being duly
sworn, hereby deposes and states as follows:

1. J am lead counsel for Plaintiff in the instant action.

2. This is a civil action pursuant to the provisions of the Comprehensive -
Environmental Response, Compensation and Liability Act of 1980, as amended, 42 U.S.C. §
9601, ef seq. and Kentucky Revised Statutes § 224.01-400, for recovery of past and future costs
incurred and to be incurred by Plaintiff at the LWD Incinerator Site in Calvert City, Marshall
County, Kentucky.

3. Defendant Peoples Natural Gas Co. LLC (“Peoples Natural Gas”) was named in
Plaintiffs original Complaint filed on August 31, 2012 (Dkt. No. 1), as well as Plaintiff's First
Amended Complaint filed on January 30, 2013 (Dkt. No. 581); Second Amended Complaint
filed on March 29, 2013 (Dkt. No. 758); and Third Amended Complaint on February 27, 2014
(Dkt. No. 985).

4. Peoples Natural Gas waived service under Fed. R. Civ. P, 4(d)(2) on November 9,
2612 (Dit. No. 279).

5. Peoples Natural Gas’ time to answer or otherwise move with respect to the Third
Amended Complaint has expired.
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6. Peoples Natural Gas has not answered or otherwise moved with respect to the
Third Amended Complaint, and the time for Peopies Natural Gas to answer or otherwise move
has not been extended.

I Peoples Natural Gas is not an infant, incompetent or presently in the military
service of the United States, as to the best of my information and belief and as appears from the
facts in this litigation.

8. Peoples Natural Gas is indebted to Plaintiff by virtue of its generation of waste
streams containing hazardous substances that were disposed of at the Site, which is the locus of —

~ this litigation.

WHEREFORE, Plaintiff requests that the default of Defendant Peoples Natural Gas Co.
LLC be noted and that a Certificate of Default be issued by the Clerk of the Court.

I declare under penalty of perjury that the foregoing is true and accurate to the best of my
knowledge, information and belief.

Dated: October 15, 2014

Cary Boasts — CO
THE JUSTIS LAW FIRM LLC
5251 W. 116" Place
Suite 200
Leawood, KS 66211-7820
Telephone: (913) 998-6102
Facsimile: (913) 998-6101
E-mail: gjustis@justislawfirm.com

On this 15 day of October, 2014, before me, the undersigned, a Notary Public within
and for said County and State, personally appeared Gary D. Justis, to me know to be the person
described in and who executed the foregoing instrument, and acknowledged that he executed the

same of his free act and deed.

IN WITNESS WHEREOF, I have hereunto set my hand and affixed my official seal the

day and year last above written.
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Notary Public

My Commission Expires:
. NOTARY PUBLIC - State of Kansas _
Cenk 7 / DOS 4, KATHLEEN M. NOVICKY

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